              IN THE UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                    Civil Action No. 1:19-cv-272-LCB

                                          )
MAXWELL KADEL; JASON FLECK;               )
CONNOR THONEN-FLECK; JULIA                )
MCKEOWN;         MICHAEL      D.          )
BUNTING, JR.; C.B., by his next           )
friends and parents, MICHAEL D.           )
BUNTING, JR. and SHELLEY K.
                                          )
BUNTING; SAM SILVAINE, and
                                          )
DANA CARAWAY.
                  Plaintiffs,             )
                                          )
                      v.                  )
                                          )
DALE FOLWELL, in his official             )
capacity as State Treasurer of North      )
Carolina; DEE JONES, in her official      )
capacity as Executive Administrator of    )
the North Carolina State Health Plan      )
for Teachers and State Employees;         )
NORTH        CAROLINA         STATE
                                          )
HEALTH PLAN FOR TEACHERS
                                          )
AND STATE EMPLOYEES; NORTH
CAROLINA       DEPARTMENT         OF      )
PUBLIC SAFETY.                            )
                   Defendants.


              STATE HEALTH PLAN DEFENDANTS’
           MOTION FOR PARTIAL SUMMARY JUDGMENT
                 (ORAL ARGUMENT REQUESTED)

      Defendants, the North Carolina State Health Plan for Teachers and

State Employees (“the State Health Plan”), Dale Folwell (in his official capacity




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as State Treasurer of North Carolina); and Dee Jones (in her official capacity

as Executive Administrator of the State Health Plan), by and through

undersigned counsel, do hereby move for partial summary judgment on Count

III (the Affordable Care Act claim) and Count IV (the Title VII claim) on the

grounds that there are no genuine issues of material fact as to these Counts

and Defendants are therefore entitled to judgment as a matter of law.

      In support of this motion, the State Health Plan Defendants rely on their

memoranda of law and the declarations, deposition testimony, and exhibits

filed herewith.


      WHEREFORE, The State Health Plan Defendants respectfully request

that this Court Grant its motion for partial summary judgment and enter

judgment for Defendant State Health Plan regarding Count III (the Affordable

Care Act claim) and Count IV (the Title VII claim).


      The State Health Plan Defendants believe that oral argument is

warranted in this case and would be helpful to the Court and therefore

respectfully request, pursuant to L.R. 7.3(c), the opportunity to present oral

arguments on this Motion.




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    Respectfully submitted, this the 30th day of November,2021.


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                          CERTIFICATE OF SERVICE

 I hereby certify that I electronically filed the foregoing with the Clerk of the Court
 using the CM/ECF system which will provide electronic notification to all counsel
 of records in this matter.

 This the 30th day of November, 2021.

/s/ John G. Knepper                        /s/ Kevin G. Williams
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